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                    United States District Court
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE



 COSTCO WHOLESALE CORP.,                          JUDGMENT IN A CIVIL CASE
               Plaintiffs,                        CASE NUMBER: 2:13-cv-1207-RAJ

        v.

 AU OPTRONICS CORP., et al.,

               Defendants.



       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

  X    Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.

THE COURT HAS ORDERED THAT

        Pursuant to the Stipulation and Order Regarding Award of Supplemental Attorneys' Fees
and Costs to Plaintiff Costco Wholesale Corporation and Entry of Judgment entered on
March 25, 2016, judgment is entered for Costco in the amount of $10,105,668, which includes
the stipulated amount of Costco’s fees and costs prior to and including June 12, 2015 of
$10,000,000, and the stipulated amount of Costco’s fees and costs after and including June 13,
2015 to March 17, 2016 of $105,668.

       DATED this 25th day of March, 2016.


                                            WILLIAM M. McCOOL,
                                            Clerk of the Court

                                            By:    /s/ Victoria Ericksen
                                                    Deputy Clerk
